Case 9:20-md-02924-RLR Document 1675 Entered on FLSD Docket 09/04/2020 Page 1 of 1



                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

  IN RE: ZANTAC (RANITIDINE)                                                                         MDL NO. 2924
  PRODUCTS LIABILITY                                                                                  20-MD-2924
  LITIGATION
                                                                     JUDGE ROBIN L ROSENBERG
                                                             MAGISTRATE JUDGE BRUCE REINHART

  __________________________________/

  THIS DOCUMENT RELATES TO: ALL CASES

            AGREED ORDER GRANTING UNOPPOSED MOTION TO DROP TARO
           PHARMACEUTICAL INDUSTRIES LTD. FROM MASTER COMPLAINTS

          THIS CAUSE came before the Court on Plaintiffs’ Co-Lead Counsel’s Unopposed Motion

  to Drop Taro Pharmaceutical Industries Ltd. from Master Complaints [DE # 1672], without prejudice,

  pursuant to Pretrial Order # 40 [DE # 1498] and Federal Rule of Civil Procedure 21. 1 Having

  reviewed the Unopposed Motion, and being otherwise fully advised in the premises, it is hereby

  ORDERED and ADJUDGED that the Unopposed Motion is GRANTED.                                         Defendant Taro

  Pharmaceutical Industries Ltd. is dropped, without prejudice, from the following Master Complaints:

          1.       Master Personal Injury Complaint [DE # 887] at ¶ 123;

          2.       Consolidated Consumer Class Action Complaint [DE # 889] at ¶ 340; and

          3.       Third-Party Payor Class Complaint [DE # 888] at ¶ 103.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 4th day of

  September, 2020.


                                                                ROBIN L. ROSENBERG
                                                                UNITED STATES DISTRICT JUDGE



  1
    “Master Complaints” refers collectively to the Master Personal Injury Complaint [DE # 887], Consolidated Consumer
  Class Action Complaint [DE # 889], and Third-Party Payor Class Complaint [DE # 888]. Pursuant to Pretrial Order # 40,
  the specific paragraph number in the corresponding Master Complaint affected by the modification are identified herein.
